IN THE UNITED STATES DISTRICT COURT

FOR THE NORTHERN DISTRICT OF GEORGIA

ATLANTA DIVISION
PAMELA GIBSON *
*
* CASE NO.: l : 12-CV-2990
={<
VS. =l<
>i=
*
ROSENTHAL, STEIN AND *

ASSOCIATES, LLC

DECLARATION IN SUPPORT OF PLAINTIFFS MOTION FOR ATTORNEYS FEES

I, Joyce Neal, the undersigned counsel, under penalty of perjury, do attest to and affirm
the following:

l.

The undersigned is a 2004 graduate of Emory School of Law and has practiced as a
licensed attorney and is a member in good standing with the State Bar of Georgia for over nine
(9) years.

2.

The undersigned is admitted to practice in the U.S. District Court for the Northern
District of Georgia.

3.
The undersigned routinely charges the hourly rate of three hundred dollars ($300.00) per

hour for civil legal matters, whether they are matters that will be filed within the state or federal
court systems.

4.

The undersigned has observed that other area attorneys with the same level of experience
and training typically charge rates ranging from two hundred dollars ($200.00) per hour to three
hundred fifty dollars ($350.00) per hour for federal civil law disputes.

5.

Further, the undersigned has reviewed the records pertaining to the legal work performed
by attorneys Jared M. Lee and Reynolds E. Pitts, Jr. in the above captioned matter. As such, it is
her professional opinion that the legal fees charged by the aforementioned firm are fair and
reasonable within the Atlanta market.

/)O\l\l

Attorne,y Joyce eal

Georgia Bar Nu ber 141343
The Neal Law Firm, PC

191 Peachtree Street, Suite 3300
Atlanta, Georgia 30303
www.neallawpc.com

Sworn to and Subscribed before me this 23rd day of December, 2013.

    

     

  

mrt/m / 20 w
NOTARY PUBLIC

ommission Expires:

LASHANDRA MOBLEY
NOTARY PUBL|C
Fu|ton County
State of Georgia
My Comm. Exp|res Mar. 19, 2016

 

 

